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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 IN RE TURKEY ANTITRUST LITIGATION                 NO. 19-CV-08318

 THIS DOCUMENT RELATES TO:                         HON. SUNIL R. HARJANI

 COMMERCIAL AND INSTITUTIONAL                      HON. KERI L. HOLLEB HOTALING
 INDIRECT PURCHASER PLAINTIFF
 ACTION


   UNCONTESTED MOTION FOR PRELIMINARY APPROVAL OF COMMERCIAL
   AND INSTITUTIONAL INDIRECT PURCHASER PLAINTIFFS’ SETTLEMENTS
               WITH FARBEST FOODS AND COOPER FARMS

       PLEASE TAKE NOTE that the Commercial and Institutional Indirect Purchaser Plaintiffs

(“CIIPPs”) hereby move the Court for an order granting their Uncontested Motion for Preliminary

Approval of the Settlement Agreements with Defendants Farbest Foods, Inc. and Cooper Farms,

Inc. This motion is based on this notice of motion and motion, Federal Rule of Civil Procedure 23,

the concurrently filed Memorandum of Law and supporting declaration and exhibits, and all other

evidence and arguments presented in the briefings and at the hearing on this motion.
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Dated: April 29, 2025                       By: /s/draft
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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on April 29, 2025, a copy of the

foregoing was electronically filed with the Clerk of Court using the Court’s CM/ECF system,

which will send notification of the filing to all counsel of record.

                                               By: /s/ draft




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